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 3

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     CARLOS P. ANDRADE
 5

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 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
                                                     )     Case No.: CR-S-04-318 MCE
12   UNITED STATES OF AMERICA,                       )
                                                     )     STIPULATION AND ORDER
13                Plaintiff,                         )
                                                     )
14      vs.                                          )
     CARLOS P. ANDRADE,                              )     Date: July 26, 2005
15                                                   )     Time: 8:30 a.m.
                                                     )     Hon. Morrison C. England, Jr.
16                                                   )
                                                     )
17                Defendant.                         )
                                                     )
18

19          IT IS HEREBY STIPULATED by and between the United States of America through
20
     Philip Ferrari, Assistant United States Attorney, and defendant Carlos Plancarte Andrade, by and
21
     through his counsel, Ruben Munoz, Esq., that the trial date currently set for July 27, 2005, at
22

23   8:30 a.m., be vacated. The defendant will be entering a change of plea on July 26, 2005, at 8:30

24   a.m.
25
     ///
26
     ///
27
     ///
28




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               Case 2:04-cr-00318-MCE Document 34 Filed 07/29/05 Page 2 of 2



 1   It is so stipulated.
 2
     Dated: July 20, 2005                         /s/
 3
                                                  RUBEN T. MUÑOZ
 4
                                                  Attorney for Defendant
 5
     It is so stipulated.
 6

 7   Dated: July 20, 2005                         /s/
                                                  PHILIP A. FERRARI
 8
                                                  Assistant U.S. Attorney
 9

10

11

12   It is so ORDERED:
     Dated: July 29, 2005
13

14
                                       __________________________________
                                       MORRISON C. ENGLAND, JR
15                                     UNITED STATES DISTRICT JUDGE
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